Case 0:24-cv-60891-AHS Document 28 Entered on FLSD Docket 07/03/2024 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

   INTER-COASTAL WATERWAYS LLC,
                                                    CIVIL ACTION NO. 0:24-cv-60891-AHS
                             Plaintiff,
                   v.

   TRADESTATION SECURITIES, INC. and
   DOE DEFENDANTS 1-10,

                             Defendants,
                 and

   THE FINANCIAL INDUSTRY
   REGULATORY AUTHORITY,

                             Nominal Defendant.


               PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME
              TO RESPOND TO NOMINAL DEFENDANT’S MOTION TO DISMISS

         Pursuant to Local Rule 7.1, Plaintiff Inter-Coastal Waterways LLC (“Inter-Coastal”)

  respectfully moves for an extension of time to respond to Nominal Defendant Financial Industry

  Regulatory Authority’s (“FINRA”) Motion to Dismiss. In support of this motion, Inter-Coastal

  states as follows:

         1.      On May 24, 2024, Inter-Coastal filed its complaint, ECF No. 1 (“Complaint”),

  against Defendant TradeStation Securities, Inc., Doe Defendants 1-10 and FINRA.

         2.      On July 3, 2024, FINRA filed a motion to dismiss Plaintiff’s Complaint. ECF No.

  27 (“Motion”). Inter-Coastal’s opposition to FINRA’s Motion is currently due on July 17, 2024.

         3.      Undersigned counsel will be out of the office until July 15, 2024 to attend the

  wedding of their colleague and, as such, requires additional time to prepare Inter-Coastal’s

  response to FINRA’s Motion.



                                                1
Case 0:24-cv-60891-AHS Document 28 Entered on FLSD Docket 07/03/2024 Page 2 of 3




          4.      Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, Inter-Coastal

  respectfully requests this Court grant a 14-day extension of time to respond to FINRA’s Motion.

          5.      This motion is made in good faith and neither the parties nor the Court will be

  prejudiced by the relief requested herein.

                             LOCAL RULE 7.1(a)(3) CERTIFICATION

          The undersigned hereby certifies that they have conferred with Nominal Defendant’s

  counsel, who does not object to the relief requested herein.

                                               Respectfully Submitted,

                                               THE BASILE LAW FIRM P.C.

                                               /s/ Agapija Cruz
                                               Agapija Cruz, Esq.
                                               365 Fifth Avenue S.
                                               Suite 202
                                               Naples, Florida 33472
                                               Tel.: (239) 232-8400
                                               Fax: (631) 498-0478
                                               Email: agapija@thebasilelawfirm.com

                                               Joseph R. Rose, Esq. (admitted Pro Hac Vice)
                                               390 N. Broadway, Ste. 140
                                               Jericho, New York 11753
                                               Trl.: (516) 455-1500
                                               Fax: (631) 498-0478
                                               Email: joe@thebasilelawfirm.com

                                               Counsel for Plaintiff Inter-Coastal Waterways LLC




                                     CERTIFICATE OF SERVICE
          I hereby certify that on the 3rd day of July 2024, the foregoing document was electronically

  filed with the Clerk of the Court using the CM/ECF system, which will send a notification of such

  filing to all counsel of record.


                                                   2
Case 0:24-cv-60891-AHS Document 28 Entered on FLSD Docket 07/03/2024 Page 3 of 3




                                                /s/ Agapija Cruz




                                       3
